                              UNITED  STATES COURT
                               Case: 25-8002       OF3APPEALS
                                             Document:   Page: 1FORDate
                                                                   THEFiled:
                                                                        THIRD  CIRCUIT
                                                                             01/24/2025

                                                                             No. 25-8002

                                     Atlas Data Privacy Corp, et al                          vs. Spy Dialer, Inc.

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 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:
 Atlas Data Privacy Corp., as assignee of individuals who are Covered Persons, Jane Doe1-2, Edwin Maldonado, Scott Maloney, Justyna Maloney, Patrick Colligan, William Sullivan & Peter Andreyev




Indicate the party’s role IN THIS COURT (check only one):

           ____ Petitioner(s)                                  ____ Appellant(s)                                  ____ Intervenor(s)

            ✔ Respondent(s)
           ____                                                ____ Appellee(s)                                   ____ Amicus Curiae

(Type or Print) CounseO’s Name Jessica A. Merejo
                                ________________________________________________________________
                                   ____ Mr.      ✔ Ms.
                                               ____        ____ Mrs. ____ Miss ____ Mx.

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If your organization has created a common or general email address for purposes of receiving
ECF notices, that common email address MUST be one of the listed additional email addresses.
Notices generated from the Court’s ECF system will be sent to both the primary e-mail and additional
e-mail addresses. You are limited to 3 additional e-mail addresses.

SIGNATURE OF COUNSEL: /s/ Jessica A. Merejo

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
